4/21/23, 9:30 AM    Case 1:18-cv-11642-VM-VF Document  406-2
                                                  Nq.com          Filed
                                                         whois history     04/21/23 Page 1 of 3
                                                                       records

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  According to "Whois Nq.com", Nq is owned by Liu Chunxia of NetQin Mobile Inc. since 2022. Nq was
  registered with Register.com Inc. on June 03, 1995. Liu Chunxia resides in Beijing, China and their email is
  chunxialiu@nq.com.

  Earlier, Nq owners included lei liu of NetQin Mobile Inc. in 2020, zhang guobao of NetQin Mobile Inc. in 2018
  and zhang guobao of NetQin Mobile Inc. in 2013.

  The current Nq.com owner and other personalities/entities that used to own this domain in the past are listed
  below.

  If you would like to share more "whois" details on Nq with us, please contact us!




                                                      http://nq.com
  Get to nq.com overview
  Show current WHOIS info

  Nq.com whois history
  General


        Liu, Chunxia NetQin Mobile, Inc.

             Owner since August 01, 2022

  2 years left                27 years old

  Expires on June 02, 2025 Created on June 03, 1995
                                                                                                       EXHIBIT
  Registrar and Status
                                                                                                             2
https://whois.easycounter.com/nq.com                                                                              1/3
4/21/23, 9:30 AM    Case 1:18-cv-11642-VM-VF Document  406-2
                                                  Nq.com          Filed
                                                         whois history     04/21/23 Page 2 of 3
                                                                       records

  Registar REGISTER.COM, INC.

  Status      pendingTransfer

                    Owner                     Registrar                 Status

  Liu, Chunxia NetQin Mobile, Inc. Register.com, Inc.
                                                               pendingTransfer
  August 01, 2022                      Show WHOIS info




  lei, liu NetQin Mobile, Inc.         Register.com, Inc.
                                                               clientTransferProhibited
  July 05, 2020                        Show WHOIS info




  zhang guobao NetQin Mobile, Inc. Register.com, Inc.
                                                               ok
  March 22, 2018                       Show WHOIS info




  PERFECT PRIVACY, LLC                 Register.com, Inc.
                                                               clientTransferProhibited
  March 24, 2016                       Show WHOIS info




                                       REGISTER.COM, INC.
  zhang guobao NetQin Mobile, Inc.
                                       http://www.register.com clientTransferProhibited
  November 14, 2013
                                       Show WHOIS info




  NetQin Mobile, Inc.                  REGISTER.COM, INC.

  May 17, 2012                         Show WHOIS info




  If you are Nq owner and would like to increase privacy protection level for your data - please, deal with
  Register.com Inc. which is your site’s registrar.

https://whois.easycounter.com/nq.com                                                                          2/3
               Case 1:18-cv-11642-VM-VF Document
4/21/23, 9:30 AM                                            406-2
                                                       Nq.com          Filed
                                                              whois history     04/21/23 Page 3 of 3
                                                                            records

  Whois history of Nq.com is provided using publicly open domain data.

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